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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the                                          FILED
                                                   Eastern District of California                              Jan 28,
                                                                                                               Feb 18, 2022
                                                                                                            CLERK, U.S. DISTRICT COURT
                                                                                                          EASTERN DISTRICT OF CALIFORNIA


                  United States of America                        )
                             v.

              Edwin Alonso Cuadros Bravo and
                                                                  )
                                                                  )
                                                                  )
                                                                           Case No.         SEALED
             Yulisa Alexsandra Guevara Wintong
                                                                  )             2:22-mj-0029 KJN
                                                                  )
                                                                  )
                           Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                November 21, 2021              in the county of                 Sacramento                       in the
     Eastern           District of        California          , the defendant(s) violated:

            Code Section                                                    Offense Description
        18 U.S.C. § 1201(a)(1)                                   Interstate and International Kidnapping
         18 U.S.C. § 1201(c)                           Conspiracy to Commit Interstate and International Kidnapping




         This criminal complaint is based on these facts:

          (see attachment)




         ☒ Continued on the attached sheet.
                                                                                            /s/


                                                                                              Complainant’s signature

                                                                                Orcina A. Pacheco-Garcia, Special Agent, FBI
                                                                                                  Printed name and title

Sworn to before me and signed telephonically.


Date: 02/18/22
                                                                                                    Judge’s signature

City and state:       Sacramento, California                                      Kendall J. Newman, U.S. Magistrate Judge
                                                                                                  Printed name and title
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                      AFFIDAVIT IN SUPPORT OF COMPLAINT

I, Orcina A. Pacheco-Garcia, being duly sworn, depose and state:

                                        I.      PURPOSE

1.      This Affidavit is in support of a criminal complaint and arrest warrants for:

                 YULISA ALEXSANDRA GUEVARA WINTONG and
                 EDWIN ALONSO CUADROS BRAVO

              For the following federal law violations:

                      Title 18 U.S.C. § 1201(a)(1) (Interstate and International
                      Kidnapping)

                      Title 18 U.S.C. § 1201(c) (Conspiracy to Commit Interstate and
                      International Kidnapping)


                                II.    AGENT BACKGROUND

2.      I am a Special Agent with the Federal Bureau of Investigation and have been since

        March 2019. I have worked for the Federal Bureau of Investigation in other

        capacities since September 2017. Based on my training and experience as an agent

        with the FBI, I have investigated federal criminal violations related to, among other

        things, child exploitation and child pornography, kidnappings, and human

        trafficking. I have gained experience through training at the FBI Academy as well

        as by conducting these types of investigations. Moreover, I am a federal law

        enforcement officer who is engaged in enforcing the criminal laws, including 18

        U.S.C. § 1201.

                         III.   STATEMENT OF PROBABLE CAUSE

     3. On November 21, 2021, Parent 1 and Parent 2 (collectively, the “Parents”)

        contacted the Sacramento County Sheriff’s Office to report that their six-year-old

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   child (the “Victim”) had been kidnapped by Parent 1’s mother and father, Yulisa

   Alexsandra Guevara Wintong (“GUEVARA WINTONG”) and Edwin Alonso

   Cuadros Bravo (“CUADROS BRAVO”). According to Parent 1 and Parent 2,

   GUEVARA WINTONG and CUADROS BRAVO have no legal custody over the

   Victim and no authority to travel with the Victim outside the United States. Based

   on the evidence and information set forth below, GUEVARA WINTONG and

   CUADROS BRAVO took the Victim from the Victim’s residence in the United

   States and unlawfully traveled with the Victim to Peru.

4. A year earlier, in or around November 2020, Parent 1 and Parent 2 had picked up

   the Victim, GUEVARA WINTONG, and CUADROS BRAVO from the San

   Francisco International Airport after they had traveled from Lima, Peru. Parent 1

   arranged the travel in 2020 so that the Victim could permanently reside with the

   Parents in Sacramento, California. According to Parent 1, she had provided

   GUEVARA WINTONG and CUADROS BRAVO with a signed and dated letter

   authorizing the travel of the Victim into the United States with them. GUEVARA

   WINTONG and CUADROS BRAVO and the Victim resided with Parent 1 and

   Parent 2 in Sacramento from November 2020, until their departure on November

   19, 2021.

5. According to Parent 1, in September 2020, GUEVARA WINTONG had

   approached Parent 1 when she was in the master bedroom of her Sacramento

   residence. During this discussion, GUEVARA WINTONG communicated to

   Parent 1 her intentions to return to Peru with the Victim and Parent 1 refused to

   give GUEVARA WINTONG consent to take the Victim back to Peru. In response,



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       GUEVARA WINTONG threatened to have Parent 1 and Parent 2 deported from the

       United States if Parent 1 did not allow them to take the Victim. 1 Parent 1 provided

       law enforcement a copy of the video that Parent 1 had saved on her video

       surveillance application. I reviewed the video home surveillance footage containing

       both the audio and visual conversation between GUEVARA WINTONG and Parent

       1, and the surveillance corroborated Parent 1’s statements made to law enforcement.

       The video was timestamped and had been captured on September 20, 2021, at

       approximately 4:28 p.m.

    6. According to Parent 1, GUEVARA WINTONG usually picked up the Victim from

       school and brought the Victim back to the residence while Parent 1 was at work.

       On November 19, 2020, according to Parent 1, GUEVARA WINTONG had

       informed Parent 1 that the Victim was at a play date with a classmate. 2 Then,

       according to the Parents, at approximately 4:30 p.m., CUADROS BRAVO arrived

       with the Victim to the residence after picking her up from her play date. Then,

       according to Parent 1, GUEVARA WINTONG and CUADROS BRAVO informed

       Parent 1 they were going to visit a friend’s house. Home security footage shows

       that at approximately 5:04 p.m., the Victim, GUEVARA WINTONG, and

       CUADROS BRAVO left the residence. The Victim never returned to the residence

       after that point. According to Parent 2, at approximately 9:00 p.m., Parent 2 saw




1
 Parent 1 and Parent 2 do not have a legal residential status in the United States.
2
 On January 28, 2022, the Vice Principal of Victim’s school informed Parent 1 that on the Victim’s last
day of school, the classmate’s mother had picked up the Victim from school. Parent 1 stated she was
unaware that a stranger and not GUEVARA WINTONG, had picked up the Victim from school.

                                                    3
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       CUADROS BRAVO outside of the residence in CUADROS BRAVO’s vehicle. 3

       This is the last time that CUADROS BRAVO was seen by Parent 1 or Parent 2.

    7. The next morning, November 20, 2021, Parent 1 noticed the Victim, GUEVARA

       WINTONG, and CUADROS BRAVO had not returned to the residence. Parent 1

       stated that she initially thought they had stayed late at a friend’s house but would be

       returning the following day. Based on my review of screen shot messages and calls

       on Parent 1’s phone, Parent 1 had placed numerous phone calls to GUEVARA

       WINTONG through WhatsApp to determine the whereabouts of the Victim. Parent

       1 sent numerous text messages to GUEVARA WINTONG pleading for return of

       the Victim. According to my review, Parent 1’s phone calls and text messages were

       unanswered.

    8. The next day, November 21, 2021, Parent 1 and Parent 2 contacted the Sacramento

       Sheriff’s Department to file a police report. 4 After obtaining consent, officers

       broke open the locked door to the room of GUEVARA WINTONG and

       CUADROS BRAVO. Officers searched the room and residence and noticed

       GUEVARA WINTONG, CUADROS BRAVO, and the Victim’s belongings were

       missing from the residence, including clothes, cellphones and personal travel

       documents.

    9. Parent 1 informed authorities that she never authorized GUEVARA WINTONG or

       CUADROS BRAVO to take the Victim. Parent 1 and Parent 2 attempted to contact

       GUEVARA WINTONG and CUADROS BRAVO numerous times. Based on



3
 The home security system does not capture this view of the street.
4
 Parent 1 and Parent 2 stated that they initially hesitated to contact local authorities due to the fear of being
deported from the United States.

                                                        4
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       screenshot messages I reviewed, Parent 2 sent one message to CUADROS BRAVO

       through Facebook Messenger on November 21, 2021, at 3:23 p.m.          Parent 2 also

       showed law enforcement his Facebook Messenger account located on his cell

       phone, which showed the last communication CUADROS BRAVO 5 sent to Parent

       2 was on November 21, 2021, a 4:06 p.m., in which CUADROS BRAVO stated (in

       Spanish) that he was already in Lima, Peru, and that CUADROS BRAVO did not

       know why Parent 2 “was surprised” because “it was only a matter of time.”

    10. On November 21, 2021, Sacramento Sheriff officers executed an Emergency

       Situation Disclosure, case number 21517178, on CUADROS BRAVO’s cell phone

       number. The last ping registered on the phone was at the Miami International

       Airport on November 21, 2021.

    11. According to airline records, on November 20-21, 2021, GUEVARA WINTONG,

       CUADROS BRAVO, and the Victim flew under their own names from California

       to Florida to Peru via the following flights:

         a. November 20, 2021 American Airlines flight 6244 from Sacramento,

            California (SMF) to Los Angeles, California (LAX)

         b. November 21, 2021 American Airlines flight 340 from Los Angeles,

            California (LAX) to Miami, Florida (MIA)

         c. November 21, 2021 American Airlines flight 379 from Miami, Florida (MIA)

            to Lima, Peru (LIM)

    12. Throughout the months of December 2021 and January 2022, Parent 1 received

       several communications from family members and friends in Peru. My review of


5
 CUADROS BRAVO’s Facebook account username is “Alonso.” I reviewed the images in the Facebook
account and confirmed they are a match with CUADROS BRAVO.

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   these screenshot messages confirms that eyewitnesses saw the Victim in Peru.

   According to these accounts, GUEVARA WINTONG, CUADROS BRAVO, and

   the Victim, were staying at a family member’s residence at Calle San Pedro 131,

   Puerto Supe, Peru. As shown in a screenshot I have reviewed, on January 7, 2022,

   Parent 1 received a screenshot image from a family member (“Family Member 1”)

   that depicted the Victim, GUEVARA WINTONG, and CUADROS BRAVO.

   According to Family Member 1, this image was taken at the aforementioned

   residence in Peru. According to eyewitness accounts by Family Member 1 and one

   family friend, as of December 25, 2021, GUEVARA WINTONG and CUADROS

   BRAVO, may be intermittently residing with the Victim to an apartment located at

   Calle Faustico Maldonado 258, Cercado de Lima 15301, Lima, Peru.

13. I also reviewed screenshot messages provided by Parent 1 concerning the reporting

   of a second family member (“Family Member 2”). Family Member 2 resides in

   close proximity to Calle San Pedro 131, Puerto Supe, Peru, and has been in constant

   communication with Parent 1. Family Member 2 has sent daily Facebook messages

   concerning the whereabouts and welfare of the Victim. On January 27, 2022,

   Family Member 2 communicated to Parent 1 that she witnessed GUEVARA

   WINTONG and CUADROS BRAVO intoxicated frequently, during which times,

   the Victim has been left at the residence of another family member. On February 1,

   2022, Family Member 2, sent an image of a vehicle driven by CAUDROS BRAVO.

   Family Member 2 has also witnessed the Victim, CAUDROS BRAVO, and

   GUEVARA WINTONG in the vehicle.




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 14. Since the kidnapping on November 19, 2021, witnessed GUEVARA WINTONG

      and CUADROS BRAVO have not made any attempts to contact Parent 1 in order

      to return the Victim. According to my review of Parent 1’s WhatsApp account,

      Parent 1 has made several phone calls using WhatsApp to GUEVARA WINTONG,

      but the phone calls were never answered and GUEVARA WINTONG and

      CUADROS BRAVO have not returned any communication. According to Family

      Member 1, multiple family members have been directed by GUEVARA

      WINTONG and CUADROS BRAVO to cease communications with Parent 1.

                                 IV.    IDENTIFICATION

15.   Yulisa Alexsandra GUEVARA WINTONG, date of birth April 30, 1974, is a

      citizen of Peru. Parent 1 described GUEVARA WINTONG as a Hispanic female,

      standing approximately 5 feet and 2 inches in height, weighing approximately 160

      pounds, with brown hair and black eyes, which I have verified through review of

      CUADROS BRAVO’s Facebook account.

16.   Edwin Alonso CUADROS BRAVO, date of birth September 16, 1970, is a citizen

      of Peru. According to Family Member 2, on February 2, 2022, CUADROS

      BRAVO was seen driving a red vehicle with a license plate BYI308. Parent 1

      described him as a Hispanic male, standing approximately 5 feet and 6 inches in

      height, weighing approximately 180 pounds, with black/grey hair and black eyes,

      which I have verified through review of his Facebook account.

                                   V.     CONCLUSION

17.   Based on the aforementioned factual information, I respectfully submit that there is

      probable cause that and YULISA ALEXSANDRA GUEVARA WINTONG and



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      EDWIN ALONSO CUADROS BRAVO committed violations of 18 U.S.C.

      § 1201(a)(1) (Interstate and International Kidnapping) and 18 U.S.C. § 1201(c)

      (Conspiracy to Commit Interstate and International Kidnapping), thus supporting

      the legal basis for the Court to issue arrest warrants based on a criminal complaint.

18.   I further request that the Court order that all papers in support of this application,

      including the affidavit, complaint, and arrest warrants, be sealed until further order

      of the Court or the CUADROS BRAVO and GUEVARA WINTONG’s first

      appearance in federal criminal court. However, I request that these documents shall

      not be sealed for the limited purpose to provide copies to foreign governments as

      part of a provisional arrest and extradition process. These documents discuss an

      ongoing criminal investigation that is neither public nor known to all of the targets

      of the investigation. Accordingly, there is good cause to seal these documents

      (except for the limited purpose to effectuate the provisional arrest and extradition)

      because their premature disclosure may seriously jeopardize that investigation and

      endanger the Victim.

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       I swear, under penalty of perjury, that the foregoing Information is true and

correct, to the best of my knowledge, information and belief.




                                                        /s/
                                                    ____________________________
                                                    Orcina A. Pacheco-Garcia
                                                    Special Agent
                                                    Federal Bureau of Investigation

Subscribed and sworn to before me telephonically
this _____
       18 day of February, 2022


_______________________________
Honorable Kendall J. Newman
United States Magistrate Judge
Eastern District of California


Approved as to form:

_/s/ Veronica M.A. Alegría _
VERONICA M.A. ALEGRÍA
Assistant United States Attorney




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